Case 8:18-cv-00690-TPB-TGW Document 27 Filed 02/14/20 Page 1 of 1 PageID 142




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA


 PAULA FOOTE, TERRY FABRICANT,
                                                   Case No. 8:18-cv-00690-TPB-TGW
 and SIDNEY NAIMAN, LUCY
 ALSULIMAN, individually and on behalf of
 all others similarly situated,
        Plaintiffs,

            vs.

 HEALTH INSURANCE INNOVATIONS,
 INC., and DOES 1 through 10, inclusive, and
 each of them,
            Defendant.

             STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO
                            FED. R. CIV. P. 41(a)(1)(A)(ii)
           Plaintiffs Paula Foote, Terry Fabricant, Sidney Naiman, and Lucy Alsuliman and

Defendant Health Insurance Innovations, Inc., by and through their attorneys, stipulate to the

dismissal of this action with prejudice pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii).

This stipulation disposes of the entire action. Each party shall bear their own costs and attorneys’

fees.
           Respectfully submitted this 14th day of February, 2020

  By: s/ Raymond R. Dieppa                              By: s/ Dariel Abrahamy
  Raymond R. Dieppa, Esq. FBN: 27690                    Garry W. O’Donnell, Esq.
  Ray.Dieppa@floridalegal.law                           Florida Bar No. 0478148
  FLORIDA LEGAL, LLC                                    Email: garryodonnell@gmlaw.com
  261 N.E. 1ST STREET, SUITE 502                        Dariel J. Abrahamy, Esq.
  MIAMI, FLORIDA 33132                                  Florida Bar No. 0014901
  (305) 901-2209 - TELEPHONE                            Email: dariel.abrahamy@gmlaw.com
  (786) 870-4030 – FACSIMILE                            GREENSPOON MARDER LLP
  Attorneys for the Plaintiffs Paula Foote,             2255 Glades Road, Suite 400-E
  Terry Fabricant, Lucy Alsuliman, and                  Boca Raton, Florida 33431
  Sidney Naiman                                         Telephone: (561) 994-2212
                                                        Facsimile: (561) 807-7527
                                                        Attorneys for Defendant,
                                                        Health Insurance Innovations, Inc.




43292123
